^                                                                                                                            FILEDUSBCOMm
                                                                                                                               ^023'OCT 10ftM8:52
       Fill in this information to identify the case:

       United States Bankruptcy Court for the:


                                  District of
                                                (State)
       Case number (ffknown):                                         Chapter.

                                                                                                              ?
                                                                                                                  ^                     Q Check ifthis is an
                                                                                                                                            amended filing

                                                                23-07
                                                                                                          ^




     Official Form 201
        olunta                  etition for                                  ndividuals               iling for ~-a                  ruptc                      06/22
     If more space is needed, attach a separate sheet to this form. On the top ofany additional pages, write the debtor's name and the case
     number (if known). For more information, a separate document. Instructions for Bankruptcy Forms for Non-lndMduals, is available.



      i. Debtor's name                                    T f . . ^^                                     L. L^c
      2. All other names debtor used                      ^\          0. 6. ^^
          in the last 8 years
          Include any assumed names,
          trade names, and doing business
          as names




          Debtor's federal Employer
          Identification Number (EM)                 -+-



      4. Debtor's address                            Principal place of business                              Mailing address, if different from principal place
                                                                                                              of business

                                                          ' ^ j<J- i ^ ^
                                                     Number         Street                                    Number        Street



                                                                                                              P.O. Box


                                                      G\f>^^\^
                                                     City
                                                                                   A7State    ZIP Code        City                        State            ZIP Code

                                                                                                              Location of principal assets, if differentfrom
                                                                                                              principal place of business
                                                                  Ip
                                                     County
                                                                                                              Number        Street




                                                                                                              City                        State        ZIPCode



     5. Debtor'swebsite(URL)                                \jJU {^J                              4                         n



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                                                                     Petition Page 1 of 6
Debtor
                     \^ 0. 6. Z^e/- ^'^                                                     Case number laknam,}




 6. Type of debtor                          Corporation (including Limited LiabilityCompany (LLC)and LimitedLiabilityPartnership(LLP))
                                         1-1Partnership (excluding LLP)
                                         1-1 Other. Specify:

                                         A. Check one:
 7   Describe debtor's business
                                         a Health Care Business (as defined in 11 U. S.C. § 101(27A))
                                         Q SingleAssetRealEstate(asdefinedin 11 U.S.C. § 101(518))
                                         a Railroad(asdefinedin 11 U.S.C.§ 101(44))
                                         a Stockbroker (as defined in 11 U. S.C. § 1Q1(53A))
                                         1-1Commodity Broker (as defined in 11 U. S.C. § 101(6))
                                         1-1during Bank (asdefined in 11 U.S.C. § 781(3))
                                         Q^lone ofthe above

                                         B. Checkall that apply:

                                         Q Tax-exempt entity (as described in 26 U. S.C. § 501)
                                         Q Investment company, including hedge fund orpooled investment vehicle (as defined in 15 U. S.C.
                                            § 80a-3)
                                         Q Investment advisor (asdefined in 15 U. S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industiy Classification System) 4-digit code that best describes debtor. See
                                            htt ^/www. uscourts. ov/four-di it-national-association-naics-codes

                                                 L^-L
     Underwhich chapter of the           Check one:
     Bankruptcy Code is the
     debtorfiling?                       Q Chapter 7
                                         Q Chapter 9
                                         a'Chapter 11. C/»ec^all thatapply.
     A debtor who is a "small business
     debtor" must check the first sub-                       The debtor is a small businessdebtoras definedin 11 U.S.C. § 101(51D), and its
     box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                         affiliates) are less than $3, 024, 725. Ifthis sub-box is selected, attach the most
     under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flowstatement, and federal
     (whether or not the debtor is a                         incometax return or ifany ofthesedocumentsdo not exist, followthe procedure in
     "smalt business debtor") must                           11 U. S. C. §1116(1)(B).
     check the second sub-box.                           Q Thedebtorisa debtorasdefinedin 1 1 U.S.C. § 1182(1), itsaggregate
                                                             noncontingentliquidateddebts (excludingdebts owedto insidersor affiliates)are
                                                             less than$7,500,000, and it choosesto proceed underSubchapterV of
                                                             Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                             statement of operations, cash-flowstatement, and federal income tax return. or if
                                                             any of these documents do not exist, follow the procedure in 11 U. S.C.
                                                             §1116(1)(B).
                                                         Q A plan is being filed withthis petition.
                                                         Q Acceptances ofthe plan were solicited prepetition from one or more classes of
                                                             creditors, in accordancewith 11 U.S.C. § 1126(b).

                                                         Q Thedebtorisrequiredtofileperiodicreports(forexample, 10Kand10Q)withthe
                                                             Securitiesand ExchangeCommission accordingto § 13 or 15(d) ofthe Securities
                                                             ExchangeAct of 1934. Filethe Attachmentto Voluntary Petitionfor Non-lndividualsFiling
                                                             for Bankruptcy under Chapter 11 (Official Fomn 201A) with this form.

                                                         1-1 Thedebtorisa shellcompany asdefinedintheSecurities ExchangeActof1934Rule
                                                             12b-2.
                                         a Chapter12




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Debtor       T46 -C. L ^b. i.                                                                   Case number(ifknown)


 9. Were prior bankruptcy cases       [&NO
    filed by or againstthe debtor
    within the last 8 years?          Q Yes. District                                    When                          Case number
                                                                                                 MM/ DD/rm'
     If more than 2 cases, attach a
                                                     District                            When                          Case number
     separate list.
                                                                                                 MM / DD / YYYY

 10. Are any bankruptcy cases         llZTNo
     pending or being filed by a
     business partneror an            Q Yes. Debtor                                                                    Relationship
     affiliate of the debtor?                        District                                                          When
    List all cases. If more than 1,                                                                                                    MM / DO /YYYY
    attach a separate list.                      Case number, if known



 ii. Why is the case filed in this    Checkall thatapply:
    district?
                                         Debtorhas had its domicile principal place of business, or principal assets in this district for 180days
                                         immediatelyprecedingthedateofthispetitionorfora longerpartofsuch180daysthanin anyother
                                         district.

                                      Q A bankruptcycaseconcerningdebtor'saffiliate,generalpartner, orpartnershipispendinginthisdistrict.

12. Does the debtor own or have

    propeirt^ri rei^SnaTProperty      a Yes Answe1'below for each ProPerty              at "eeds immediate attention. Attach additional sheets if needed.


    that_needs immediate                       Whydoesthe property need immediate attention? (Checkallihatapply.)
    attention?
                                               1-1 Itposesorisallegedtoposea threatofimminentandidentifiablehazardtopublichealthorsafety.
                                                       What is the hazard?

                                               Q Itneedstobephysicallysecuredorprotectedfromtheweather.
                                               Q Itincludes perishable goodsorassetsthatcould quickly deteriorate orlosevaluewithout
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                               [-I Other



                                               Where is the property?
                                                                               Number         Street




                                                                               City                                                   State ZIP Code


                                               Is the property insured?
                                               a No
                                                       Yes. Insuranceagency

                                                                Contact name


                                                                Phone




            Statistical and administrative information




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Debtor
              T G 0-C-                         5<fV.              L                                 Case number(iiknown}




 13. Debtor's estimation of               Check one:
     available funds                      Q Fun^s will be available for distribution to unsecured creditors.
                                          ^ftSter anyadministrativeexpensesarepaid,nofundswill beavailablefordistributionto unsecuredcreditors.

                                             ^9                                 a 1,000-5,000                                a 25,001-50,000
 14. Estimated number of
                                          Q 50-99                               0 5, 001-10, 000                             Q 50, 001-100, 000
     creditors
                                          1-1 100-199                           Q 10, 001-25, 000                            Q More than 100, 000
                                          a 200-999

                                              $0-$50, 000                      a $1, 000, 001-$10 million                    1-1 $500,000,001-$1 billion
 is. Estimated assets                     1-1 $50, 001-$100, 000               1-1 $10, 000, 001-$50 million                 Q $1,OOQ,000,001-$10billion
                                          Q $100, 001-$500, 000                1-1 $50, 000, 001-$100 million                a $10,000,000,001-$50billion
                                          a $500, 001-$1 million               13 $100, 000, 001-$500 million                Q Morethan$50billion

                                          a ^$50, 000                          a $1, 000, 001-$10 million                    Q $500, 000, 001-$1 billion
 ie. Estimated liabilities
                                             "$50, 001-$100, 000               a $10, 000, 001-$50 million                   Q $1,000,000,001-$10billion
                                          a S100,001-$500,000                   a $50,000,001-$100million                    a $10,000,000,001-$50billion
                                          Q $500, 001-$1 million               Q $100, 000, 001-$500 million                 Q More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING- Bankaiptcyfraud is a seriouscrime. Makinga falsestatement in connectionwitha bankruptcy case can result in fines up to
                $500, 000 or imprisonment for up to 20 years, or both. 18U. S. C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of             The debtorrequests reliefin accordancewiththe chapteroftitle 11, United States Code, specifiedin this
    authorized representative of
                                              petition.
    debtor

                                              f have been authorized to file this petition on behatf ofthe debtor.

                                              I have examinedthe information in this petition and have a reasonable beliefthat the information is true and
                                              corre&.



                                          I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed on
                                                              MM     DD Y

                                          X                   /                                                            ^q\        (2^-S-
                                             Sign         of authorized representative of debtor              Printed name

                                             Title                   &. ^




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Debtor                                                                        Case number {aimmm)




 is. Signatureof attorney
                                                                                        Date
                               Signatureofattorneyfor debtor                                        MM      /DD /YYYY




                              Printed name


                              Firm name


                              Number          Street


                              City                                                          State           ZIP Code


                              Contact phone                                                 Emait address




                              Bar number                                                    State




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I, Jamal Ross, acting manager and on behalf of the petitioner (The O. C. Laser, LLC)
certify:

In accordance with rule, 11 U. S. C. § 101 (51C) and (51D). Section 1116 of Title 11;
The most recent balance sheet, statement of operations, cash-flow statement,
and federal income tax return, and other financial statements have not been
prepared or the tax return has not been filed.



                                                              0       2 ^
Jamal Ross on ehalf of the OC Laser, LLC               Date




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